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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF IOWA
                              CENTRAL DIVISION


  LEE BIRCHANSKY, M.D.; FOX                 Civil Action No. 4:17-cv-209
  EYE SURGERY, LLC; KORVER
  EAR NOSE AND THROAT, LLC;
  MICHAEL JENSEN and
  MICHAEL DRIESEN,

              Plaintiffs,                   DEFENDANTS’ REPLY TO
                                            PLAINTIFFS’ RESISTANCE TO
  vs.                                       DEFENDANTS’ MOTION FOR
                                            SUMMARY JUDGMENT
  GERD W. CLABAUGH, et al.

              Defendants.

        Pursuant to the Scheduling Order of November 22, 2017, the Defendants hereby

submit a Reply to Plaintiffs’ Resistance to Defendants’ Motion for Summary Judgment:

        I.    IOWA’S CON LAW BENEFITS IOWA HOSPITALS, THEREBY
              PROMOTING ACCESS FOR ALL IOWANS TO COMPREHENSIVE
              HEALTHCARE.

        In Defendants’ Motion for Summary Judgment, Defendants assert the challenged

provisions of Iowa’s CON law further legitimate state interests in part by assisting Iowa

community hospitals in maintaining financial viability, thereby ensuring access on

behalf of all Iowa residents to comprehensive healthcare. Plaintiffs respond in their

Resistance that these interests aren’t conceivable because Iowa’s CON law does not

serve to only protect Iowa hospitals, but also to protect other existing facilities.

However, in the course of making this argument Plaintiffs recognize that the CON law

does in fact benefit hospitals, therefore Defendants arguments stand.

        Plaintiffs’ argument that the CON law is over-inclusive because it protects

hospitals and protects other existing facilities attempts to move the goalposts on



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rational basis review: in fact, as long as the asserted state interests are furthered by the

law it survives review, even if not drawn with perfect exactitude. Hence, even if the CON

law does protect other existing facilities, the fact that it undisputedly protects Iowa

hospitals for the many legitimate reasons cited by Defendants ensures that it readily

withstands rational basis scrutiny. See Vance v. Bradley, 440 U.S. 93, 108 (1979) (a

classification may survive review even if it is over-inclusive; “perfection is by no means

required”); Minnesota Ass’n of Health Care Facilities v. Minnesota, 742 F.2d 442, 447 -

448 (8th Cir. 1984) (rational distinctions may be drawn with “substantially less than

mathematical exactitude”) citing New Orleans v. Dukes, 427 U.S. 297 (1976).

       Additionally, Plaintiffs cry foul because they assert the CON statute assists not

only hospitals but also “hospital-affiliated” and other “incumbent facilities,” but

Plaintiffs entirely miss the point that regardless of whether an outpatient surgical center

is part of a hospital, is hospital-affiliated, or was formed in partnership with a hospital –

such “incumbent facility” does not financially harm the hospital. The CON law protects

from competition (1) hospitals, (2) hospital-affiliated facilities, and (3) facilities like the

Surgery Center of Cedar Rapids which opened with the consent of a hospital and are

operated as a joint venture with a hospital. (DSUF at ¶¶ 24, 25; PSUMF at ¶¶ 102 – 104.

106, 110). In each of these cases the CON law operates to protect hospitals by ensuring

that the types of new outpatient facilities which can be opened without Council review

are those which will not financially harm existing hospitals. In short, the CON law

furthers the eight interests established in the Defendants’ Motion for Summary

Judgment because it ensures that new, independent outpatient surgical facilities can be

established only if existing community hospitals are not harmed in the process,

ultimately protecting the ability of all Iowans to receive comprehensive healthcare.


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       The CON law itself protects hospitals by ensuring that the types of new outpatient

surgical centers which can be opened without Council review (those opened by or

affiliated with hospitals or those like the Surgery Center of Cedar Rapids operated in

partnership with a hospital) are those which will not jeopardize the financial health of

hospitals. Additionally, the historical actions of the Council regarding those projects

which have required Council review further establish that the CON process benefits

hospitals in the interest of protecting patient access. In each application for an

outpatient surgical facility considered by the Council, hospital opposition has resulted in

the Council’s denial of the application. In each case in which a hospital has not opposed

the application, such application has been granted. Specifically, since 2005, the Council

has reviewed 12 applications to establish an outpatient surgical facility (aside from

Dr. Birchansky’s latest attempt) – each of the eight proposals which were opposed by

hospitals were denied, each of the four which were unopposed by hospitals were

approved. See, e.g. Plaintiffs’ App. at 858-861, 865-868, 885-889, 1019-1024;

Defendants’ App. at 68-73, 110, IDPH 53049-53053, 53145-53149, 1021-1026, 834-838,

3286-3290. Hence, the CON law and the CON process operate to protect the financial

wellbeing of hospitals to ensure they can continue to serve all Iowans in need of

comprehensive healthcare services.

       Finally, Plaintiffs assert the Department has produced no basis on which to

conclude that “the CON requirement allows hospitals to use outpatient surgery to

subsidize essential services.” (Plaintiffs’ Resistance at 9). To the contrary, the

Defendants have cited case law, studies, journal articles, testimony from Iowa hospitals,

testimony from the reviews of Iowa’s CON statute, statements from other states which

have repealed CON, and testimony from Dr. Birchansky himself, to establish that the


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CON law does in fact allow hospitals to do just that. See, e.g., App. pp. 6-8; 68-73,

¶¶ 16-19; 40; 79; 103-106; 110; 126; 130-131; 149-150; 151; 153-154; 155-156; see also

James Simpson, State Certificate of Need Programs, 75 Am. J. of Public Health 1225

(October 1985); Colon Health Centers, 813 F.3d 145, 157 (4th Cir. 2016).

       II.    THIS COURT MAY CONSIDER ALL EVIDENCE CITED BY
              DEFENDANTS IN THEIR MOTION FOR SUMMARY JUDGMENT.

       Plaintiffs’ complaints about the sufficiency of the evidence offered by Defendants

are misguided on three grounds. First, the deferential rational basis standard does not

require the State Defendants to offer any evidence whatsoever to support Iowa’s CON

statute. See Gallagher v. City of Clayton, 699 F.3d 1013, 1019 (8th Cir. 2012)

(government not required to offer “evidence” or “empirical data” to support public

health statute). Instead, rational basis review requires only that the General Assembly

could have reasonably speculated that the CON law achieves its intended aims. The

myriad arguments advanced by Defendants in their Motion for Summary Judgment

provide ample grounds for this conclusion.

       Second, the Plaintiffs’ assertions that the journal and newspaper articles offered

by the Defendants are inadmissible and cannot be considered by the Court again miss

the point of Defendants’ references to these reports and studies. Defendants do not

refer to these reports and studies to establish the truth of the matters asserted therein,

but rather to show that these topics have been the subject of study and reporting and

that issues surrounding the efficacy of CON programs are being legitimately debated in

the public realm. Accordingly, the Court may appropriately consider these studies and

articles in its review of Defendants’ Motion for Summary Judgment. See Mitchell v.

NBA & WNBA, No. 08-00023-CV-W-GAF, 2008 WL 11337605 (Feb. 26, 2008)



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(newspaper articles “are generally self authenticating, Fed. R. Evid. 902(6), and present

no hearsay problem since Defendants do not offer them to prove the truth of the matters

asserted”).

       Third, the Court can take judicial notice of articles cited by Defendants from

publications such as the American Journal of Public Health, the Journal of the

American Medical Association (JAMA), and from newspapers. See, e.g. DSUF at ¶ 20;

Barron v. South Dakota, No. CIV 09- 4111 (U.S. Dist. Ct. S.D.), 2010 WL 9524819,

(Sept. 30, 2010) (“Courts may properly take judicial notice of newspapers and other

publications as evidence of what was in the public realm at the time”). Again, these

studies are cited not to establish that CON programs do in fact cut costs or increase

access, but to show the serious ongoing debate about these issues in state houses across

the country - the very existence of which defeats the Plaintiffs’ claims. See Minnesota v.

Clover Leaf Creamery, 449 U.S. 456, 464 (1981) (a party cannot prevail on a rational

basis challenge “so long as it is evident from all the considerations presented to the

legislature, and those of which we may take judicial notice, that the question is at least

debatable”).

       Finally, the Court may take judicial notice of the facts found on websites if the

parties do not challenge the accuracy of the statements. See Barron v. South Dakota,

2010 WL 9524819, *3 (“It is not uncommon for courts to take judicial notice of factual

information found on websites,” in so doing courts should consider whether the

opposing party has “challenged the accuracy of this evidence”). Here, it would be

curious for Plaintiffs to challenge the accuracy of facts Defendants obtained from the

Plaintiffs’ own website, and indeed they do not and the court is therefore free to take

judicial notice of this information. Id.


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                                    CONCLUSION

       For the reasons expressed above, the Defendants respectfully request the Court

grant their Motion for Summary Judgment.



                                        Respectfully submitted,

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All Parties Served Electronically



                                                                      Proof of Service
                                                The undersigned certifies that the foregoing instrument was
                                               served upon each of the persons identified as receiving a copy by
                                               delivery in the following manner on August 3, 2018.


                                                    U.S. Mail                          FAX
                                                    Hand Delivery                      E-mail
                                                    Federal Express                   Electronic Filing


                                               Signature: ./s/ Val Naset




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